Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 1 of 40 PageID #: 394




                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION
__________________________________________
                                           )
SECURITIES AND EXCHANGE COMMISSION, )
                                          )
      Plaintiff,                           )
                                           ) Civil Action No.:
 v.                                        ) 4:16-cv-00246
                                           )
WILLIAM E. MAPP, III,                     )  JURY TRIAL DEMANDED
WARREN K. PAXTON, JR.,                    )
CALEB J. WHITE, and                       )
SERVERGY, INC.                            )
                                          )
      Defendants.                         )
__________________________________________)

                            FIRST AMENDED COMPLAINT

       Plaintiff United States Securities and Exchange Commission (the “SEC”) alleges:

                               NATURE OF THE ACTION

       1.     From November 2009 to September 2013 (“Relevant Period”), McKinney, Texas-

based technology company Servergy, Inc. (“Servergy”) raised approximately $26 million in

private securities offerings to develop what it claimed was a revolutionary new server, the

Cleantech-1000 (“CTS-1000”).

       2.     In oral and written communications with prospective investors, and in Servergy’s

February 2013 Private Placement Memorandum (“PPM”), Servergy’s co-founder and then-CEO

and Chairman William E. Mapp, III (“Mapp”) led investors to believe that the CTS-1000 was in

high demand by falsely claiming notable companies like Amazon.com and Freescale

Semiconductors had pre-ordered the product.

       3.     In addition, Mapp claimed the CTS-1000 consumed up to 80% less power than

other servers and that it was positioned to compete with servers from industry leaders like
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 2 of 40 PageID #: 395




Hewlett Packard, IBM, and Dell for use in large data centers. Mapp had no reasonable basis for

these claims and failed to disclose that, in reality, the CTS-1000 was based on outdated

technology that was being phased out of the industry.

       4.      As part of its fundraising efforts, Servergy paid Caleb J. White (“White”) and

Warren K. Paxton, Jr. (“Paxton”) commissions to promote the company to potential investors.

Neither White nor Paxton disclosed their arrangements to prospective investors.

                                       DEFENDANTS

       5.      Servergy, Inc. is incorporated in Nevada.     At all relevant times, Servergy’s

principal place of business was in McKinney, Texas. The company raised approximately $26

million between its founding in August 2009 and September 2013. During that period, Servergy

claimed to be a computer hardware company with a single product, the CTS-1000. In 2014,

Servergy rebranded itself under the leadership of a new CEO and reconstituted board of directors

and is now generating revenue using the CTS-1000 to sell secure, cloud-based data storage

services.

       6.      William E. Mapp, III, age 56, resides in McKinney, Texas. Mapp co-founded

Servergy and served as its CEO from August 2009 to September 2014, its President from August

2009 to July 2014, and Chairman of its board of directors from April 2009 to May 2015. Mapp

was responsible for Servergy’s fundraising from August 2009 to February 2013 and had

signatory authority over Servergy’s bank accounts while CEO.

       7.      Warren K. Paxton, Jr., age 53, resides in McKinney, Texas. Paxton has served

as Texas’s Attorney General since January 2015. He was a Texas state senator from January

2013 to December 2014, and a Texas state representative from January 2003 to December 2012.

Paxton received 100,000 shares of Servergy stock for soliciting investors for Servergy between

SEC v. Mapp, et al.                                                                       Page 2
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 3 of 40 PageID #: 396




July 11, 2011 and July 31, 2011. Paxton was an investment adviser representative of Mowery

Capital Management (“MCM”) from December 2013 to November 2014, and MCM’s

predecessor firm from July 2003 to December 2004. On May 2, 2014, the Texas State Securities

Board (“TSSB”) fined Paxton $1,000 after he admitted soliciting clients for MCM without being

registered as an investment adviser representative of the firm.       According to the TSSB’s

disciplinary order, Paxton did not personally disclose to clients that he would be paid 30% of the

asset management fees MCM collected. On July 28, 2015, a Collin County, Texas grand jury

indicted Paxton on two counts of first degree state securities fraud and one third degree felony

count for failing to register as an investment adviser representative for the same conduct

underlying the TSSB’s disciplinary order. State of Texas v. Warren Kenneth Paxton, Jr. in the

416th Judicial District Court of Collin County, Texas, No. 416-81913-2015, 416-82148-2015,

and 416-82149-2015.

       8.      Caleb White, age 36, resides in Tyler, Texas. White received approximately

$66,000 in commissions for recruiting investors to Servergy from April 2010 to April 2012. He

also served as a purported independent director on Servergy’s board between September 2011

and September 2015. White owns an insurance sales firm focusing on Medicare, property and

casualty insurance, and life insurance.

                                JURISDICTION AND VENUE

       9.      The SEC brings this action pursuant to authority conferred upon it by Section

20(b) and 20(d) of the Securities Act [15 U.S.C. §§ 77t(b) and 77t(d)] and Section 21(d) and

21(e) of the Exchange Act [15 U.S.C. §§ 78u(d) and 78(u)(e)].




SEC v. Mapp, et al.                                                                         Page 3
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 4 of 40 PageID #: 397




       10.     This Court has jurisdiction over this action pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 21(d), 21(e), and 27 of the Exchange Act [15

U.S.C. §§ 78u(d), (e), and 78aa].

       11.     Venue is proper in this district because at all relevant times Servergy maintained

an office here, all individual Defendants except White reside here, and the acts, transactions, and

courses of business constituting violations of law alleged in this Complaint occurred here.

       12.     In connection with the conduct described in this Complaint, Defendants directly

or indirectly made use of the mails or the means or instruments of transportation or

communication in interstate commerce.

                                    FACTUAL ALLEGATIONS

I.     SERVERGY MADE MATERIAL MISREPRESENTATIONS AND OMISSIONS
       ABOUT THE CTS-1000 TO RAISE $26 MILLION BETWEEN 2009 AND 2013
       SELLING UNREGISTERED SECURITIES.

       13.     Servergy funded its operations, namely development of the CTS-1000, by raising

$26 million between November 2009 and September 2013 without a registration statement being

filed or in effect and when no exemption from registration applied.

       A.      Mapp led Servergy’s fundraising efforts between November 2009 and
               January 2013 and raised more than $6 million.

       14.     From November 2009 through January 2013, Mapp acted not only as Servergy’s

co-founder, CEO, and Chairman; he was also its primary fundraiser. During that time, he raised

over $6 million for Servergy through word-of-mouth referrals that led to sales of common stock

to 135 investors across ten states.

       15.     Mapp identified prospective investors through referrals and offered to pay 10%

commissions to individuals for introducing new investors to the company.


SEC v. Mapp, et al.                                                                           Page 4
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 5 of 40 PageID #: 398




       16.        Once prospective investors were identified, Mapp hosted presentations, in person

and virtually through webinars, pitching opportunities to invest in Servergy. During those

presentations, he made materially misleading claims about the state of Servergy’s technology

and its business prospects, and conducted a live demonstration juxtaposing the CTS-1000’s

power efficiency with a Dell server that Mapp falsely claimed was a comparable product.

       17.        In addition to his in-person and virtual presentations, Mapp provided prospective

investors offering documents including a Confidential Information Memorandum (“CIM”) and

subscription agreement. Mapp helped draft these documents and was ultimately responsible for

their contents.

       18.        Mapp’s investor presentations and Servergy’s CIM contained material

misrepresentations and omissions about the state of Servergy’s technology and business

prospects, as described below.

       B.         WFG Investments, Inc. raised $20 Million for Servergy between February
                  and September 2013.

       19.        Between February 2013 and September 2013, Servergy engaged broker-dealer

WFG Investments, Inc. (“WFG”) to raise an additional $20 million for the company by offering

up to 10,000,000 shares of Servergy common stock at a price of $2.00 per share.

       20.        In connection with the WFG offering, Mapp conducted a live investor

presentation on or about February 14, 2013 (“WFG Presentation”), which was audio recorded

and later made available to prospective investors across the country via email.

       21.        In addition to Mapp’s recorded presentation, prospective investors identified in

connection with the WFG offering also received Servergy’s private placement memorandum

(“PPM”), a marketing PowerPoint presentation, an executive summary, and a subscription

agreement. Mapp participated in drafting the PPM and was ultimately responsible for approving
SEC v. Mapp, et al.                                                                          Page 5
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 6 of 40 PageID #: 399




the statements made in it, large portions of which were copied from Servergy’s earlier CIM.

According to the PPM, investment funds would be used to develop necessary software,

manufacture the CTS-1000, and market the server to customers.

         22.   Both the investor presentation and PPM contained material misrepresentations

and omissions about the state of Servergy’s technology and business prospects, as described

below.

II.      MAPP AND SERVERGY MISLED INVESTORS WITH FALSE CLAIMS OF
         ALLEGED ORDERS.

         A.    Servergy falsely claimed customers had committed to purchasing the CTS-
               1000.

         23.   When soliciting investments throughout the Relevant Period, Servergy and Mapp

knowingly misled investors to believe that customers were committed to purchasing the CTS-

1000.

         24.   To demonstrate market demand for the CTS-1000, Mapp implemented a pre-order

program in August 2012 requiring customers to pay a 50% deposit to pre-order the CTS-1000.

         25.   When no potential customers were willing to pay a deposit to reserve a CTS-

1000, Mapp changed the program in October 2012, dropping the deposit requirement and merely

calling for a customer to sign a non-binding pre-order form. Even though the new pre-order

form was non-binding and required no financial deposit, only one potential customer, Koerr, Inc.

(“Koerr”) was willing to sign it.

         26.   In order to create the false appearance that Servergy had received more than one

pre-order, Mapp’s son, William E. Mapp, IV (“Will Mapp”), published a “pre-order” form on

Servergy’s website, which allowed visitors to the site to express interest in the CTS-1000 by



SEC v. Mapp, et al.                                                                       Page 6
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 7 of 40 PageID #: 400




submitting basic information such as a name and company affiliation. Such pre-orders did not

obligate website visitors to purchase Servergy’s server.

       27.     By January 2013, in order to further falsely inflate the number of pre-orders,

Mapp began to use the term pre-order to refer to any instance in which a prospective customer

indicated, either orally, via email, or on Servergy’s online pre-order form that it would consider

buying the CTS-1000 when it ultimately became available in the market.

       28.     With Mapp’s counterintuitive definition of “pre-order” as its basis, a section of

Servergy’s PPM titled “pre-orders” falsely claimed the company had received “25 orders totaling

over 1,500 units with planned delivery in late 2013.”

       29.     During the WFG Presentation, Mapp falsely claimed that Servergy had received

pre-orders for over 2,000 CTS-1000 units and the company would begin to turn a profit after

selling only 600 units. At that same gathering, Mapp failed to correct a WFG representative who

claimed investors’ money would be “protected in a very short fashion” because Servergy had

“orders on the books.”

       30.     Despite changing the meaning of the term “pre-order” to suit his needs over time,

Mapp told investors that Servergy’s pre-order program was the same model used by Tesla and

Apple. This was untrue because, during the Relevant Period, Tesla and Apple each required

customers to make cash deposits, or payment in full, when pre-ordering products.

       31.     When these statements were made in the PPM and orally by Mapp, he knew that

Servergy had not received orders for the CTS-1000. Instead, Mapp had simply invented his own

misleading definition for the term “pre-order” to disguise the fact that Servergy had neither

actual product orders nor binding legal or financial commitments from customers to purchase the

CTS-1000.

SEC v. Mapp, et al.                                                                         Page 7
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 8 of 40 PageID #: 401




       B.      Servergy maintained a pipeline report tracking supposed sales leads.

       32.     Servergy utilized an Opportunity Pipeline Report (“Pipeline Report”) to internally

track sales leads. Will Mapp, who generated potential customer leads at trade shows and

monitored online pre-orders, was primarily responsible for maintaining and updating the Pipeline

Report, which Bill Mapp received and discussed with other members of management.

       33.     The Pipeline Report (a) identified companies Servergy believed were interested in

the CTS-1000; and (b) estimated the likelihood a sale would actually occur. For instance,

Servergy’s Pipeline Report assigned a 50% likelihood that Disney and Netflix would each order

the CTS-1000 despite no substantive discussions with those companies or indicia that the

companies seriously considered purchasing Servergy’s server.

       34.     The Pipeline Report also continued to identify potential customer orders long

after those supposed sales opportunities – to companies such as Freescale Semiconductor, Inc.

(“Freescale”), discussed below – ceased to exist.

       35.     Hence, the Pipeline Report presented an overstated version of Servergy’s business

prospects and consequent financial outlook and overall sustainability.

       C.      Mapp touted orders that never existed.

               1.         The alleged Freescale order

       36.     In late July 2012, when Servergy was low on operating funds, the company

pitched a possible sale to Freescale. While Servergy’s management was optimistic about the

opportunity, Mapp alone began falsely referring to it as an actual purchase order. Indeed, Mapp

began touting an order from Freescale when soliciting prospective investors and communicating

with Servergy’s promoters, including Paxton.



SEC v. Mapp, et al.                                                                        Page 8
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 9 of 40 PageID #: 402




       37.     On July 26, 2012 and July 30, 2012, Mapp touted the alleged Freescale order in

emails to an investor. In the emails, Mapp knowingly and falsely claimed that Servergy had

received an order from Freescale with a potential value of $34 million. Shortly after receiving

Mapp’s second email, the investor wired $40,000 to Servergy. Before receiving the investment,

Servergy had just over $5,000 in its bank account but, after receiving the investor’s $40,000, was

able to meet its rent and payroll obligations for the month.

       38.     Ultimately, Freescale never purchased or ordered a single CTS-1000.

               2.         The alleged Amazon order

       39.     When Servergy was again low on operating funds in early 2013, Mapp falsely

told prospective investors that the company had received an order from Amazon. In reality, an

employee of Amazon had merely contacted Servergy because he wanted to test the CTS-1000 in

his free time and for his personal use.

       40.     On December 25, 2012, the Amazon employee filled out Servergy’s online pre-

order form and typed “Amazon” into the field requiring a company name. The following day,

Will Mapp received the online pre-order and immediately forwarded it to Mapp. Without any

additional information, and before contacting Amazon or the individual for verification, Mapp

sent a congratulatory email to the Servergy executive team claiming the company had received

an order from Amazon.

       41.     On December 31, 2012, the Amazon employee explained to Will Mapp that he

was simply inquiring about the CTS-1000 in his personal capacity and did not act on behalf of

Amazon.

       42.     By January 9, 2013, Servergy’s engineers were aware there was no order from

Amazon and the individual’s pre-order never even appeared in the Pipeline Report.

SEC v. Mapp, et al.                                                                         Page 9
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 10 of 40 PageID #: 403




       43.     Notwithstanding (a) the lack of indicia in the online pre-order form of an

enterprise-level interest at Amazon in the CTS-1000; (b) the fact that the pre-order only indicated

an interest in a single server; and (c) the individual’s prompt clarification that he was not

inquiring on behalf of Amazon, Mapp knowingly or recklessly represented to investors and

promoters, including White and Paxton, that Servergy had received an order from Amazon until

at least February 4, 2013.

       44.     Indeed, on January 16, 2013, eleven months before Servergy had commercial

units of the CTS-1000 available for purchase, Mapp sent an email telling a prospective investor

that Servergy was preparing to ship its first unit to Amazon. At the time, Servergy had just over

$1,000 in its bank accounts and no commercial units available to ship. On February 28, 2013,

the investor wired Servergy $100,000.

               3.         The alleged Koerr order

       45.     Servergy’s PPM falsely claimed that the company had received “25 orders

totaling over 1,500 units.” Notwithstanding Servergy’s misleading use of the term “pre-order,”

this statement was false and Mapp knew it was false by at least March 10, 2013. Nonetheless,

the claim remained in the PPM until the offering closed on September 30, 2013.

       46.     Servergy attributed the bulk of the supposed 1,500 units ordered to a purported

purchase order by Koerr.

       47.     In October 2012, Will Mapp met Koerr’s then-Chief Technology Officer

(“CTO”), at a trade show, where the CTO agreed to consider the CTS-1000 for Koerr’s server-

purchasing needs. Shortly thereafter, the CTO signed a Servergy pre-order form for 1,000 units,

but, as was the case with all Servergy pre-orders, did not make any payment or obligate Koerr to

purchase any units.

SEC v. Mapp, et al.                                                                         Page 10
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 11 of 40 PageID #: 404




       48.     On November 21, 2012, Servergy agreed to send Koerr two CTS-1000 prototypes

for evaluation free of charge. Although Koerr’s CTO signed a “purchase” order covering those

two units, Koerr returned the units to Servergy after completing its testing.

       49.     On March 10, 2013, Koerr’s CTO informed Servergy that Koerr had purchased its

servers from Dell because it needed a server with a 64-bit processor, not the 32-bit processor of

the CTS-1000. Mapp was informed of this the same day.

       50.     Servergy’s false claim that it had received “25 orders totaling over 1,500 units,”

based largely on the Koerr pre-order, remained in the company’s PPM until the WFG offering

closed in September 30, 2013. In fact, when Servergy supplemented the PPM in July 2013,

Mapp knowingly or recklessly failed to remove the claim or otherwise inform investors that the

claim was untrue, and instead distributed the material misrepresentation to additional prospective

investors.

III.   MAPP AND SERVERGY MISREPRESENTED THE CTS-1000’s CAPABILITIES

       A. Mapp and Servergy failed to disclose that the CTS-1000 utilized an obsolete 32-
          bit processor.

       51.     Servergy’s PPM claimed the CTS-1000 was a revolutionary new server that could

replace the “power-hungry” servers found in top data centers. Mapp, who touted his technical

savvy and invited investors to rely on his claimed expertise, made similar claims in oral and

written communications with investors throughout the Relevant Period. In truth, Servergy’s

technology was outdated by the time the WFG offering launched in February 2013.

       52.     According to the PPM, the CTS-1000 was an enterprise-grade general purpose

server that would directly compete with top server makers like IBM, Dell, and Hewlett Packard.

However, neither Mapp nor Servergy informed investors that while those companies had moved

to manufacturing high performance servers with 64-bit processors, the CTS-1000 had a less
SEC v. Mapp, et al.                                                                        Page 11
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 12 of 40 PageID #: 405




powerful 32-bit processor, and, thus, the CTS-1000 would not directly compete with the servers

listed in the PPM.

       53.     Neither Mapp nor Servergy disclosed the differences between the CTS-1000’s 32-

bit and 64-bit servers and consequent discrepancies in the CTS-1000’s performance capabilities

in comparison to market leading 64-bit servers. For instance, Servergy failed to inform investors

that many software programs simply could not operate on the CTS-1000’s 32-bit processor or

that a 64-bit processor allows for more efficient computation of complex data than a 32-bit

processor.

       54.     Mapp and Servergy knew, or were severely reckless in failing to know, that the

CTS-1000’s technology was outdated, incomparable to other servers they claimed it could

compete against, and undesirable to at least certain of its prospective customers. Indeed, after

Mapp permitted Koerr to test the CTS-1000, Koerr reported in March 2013 – a mere two months

into the WFG offering – that it was only interested in 64-bit servers. Facebook gave Servergy

the same feedback in the summer of 2013.

       55.     Notably, Servergy no longer markets the CTS-1000 as a general purpose server

intended to compete with servers manufactured by market leaders but rather is generating

revenue using the device to offer secure, cloud-based data storage and other services.

       B.      Mapp and Servergy misrepresented the CTS-1000’s power consumption and
               thermal output.

       56.     Mapp and Servergy claimed that CTS-1000s “literally help[ed] pay for

themselves by consuming up to 80% less power [and] cooling” than other servers. An early

iteration of this claim appeared in Servergy’s CIM in 2009 and was repeatedly asserted by Mapp

in oral and written communications with investors and in Servergy’s PPM. However, as Mapp

knew, Servergy only tested the CTS-1000 against one other, non-comparable Dell server
SEC v. Mapp, et al.                                                                       Page 12
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 13 of 40 PageID #: 406




released nearly four years before the WFG offering launched. Hence, there was no basis for the

claim that the CTS-1000 consumed less power or produced less thermal output than other,

comparable servers.

       57.       Not only were Mapp’s and Servergy’s power and thermal output claims baseless

and false, but they also falsely represented to investors that an independent lab confirmed the

claims. In reality, the lab they touted did not conduct comparable testing pitting the CTS-1000

against other servers. Instead, in October 2010, the lab merely tested the power consumption and

thermal output of an early CTS-1000 prototype board in isolation rather than in comparison to

any other server.

       58.       To support the false claim that the CTS-1000 consumed up to 80% less power

than other servers, Servergy included the following deceptive chart in its PPM:

                                        Servergy                                             Dell          HP ProLiant
                   Model               CTS100           IBM PS701      Cisco B200 M2      PowerEdge            BL420
                                                                                           M160X


                    CPU                  8-Core            8-Core          8-Core            8-Core           8-Core
                 Hard Drive              4 x ITB        1 x 300GB        2 x 146GB          1 x 1TB          2 x 1TB
                    RAM                  32GB              32GB            192GB             96GB             32GB
           Power Supply Quantity x   130W for each      4 x 2980W /      4 x 2500W /      6 x 2700W /      6 x 2400W /
               Watts / server(s)          server         14 servers        8 servers       16 servers        8 servers
              = Watts per server     = 130W/server     = 851W/server   = 1250W/server   = 1012W/server   = 1800W/server



                                      8.75 in W x       9.65 in W x      16.5 in W x      15.2 in W x      7.11 in W x
                 Dimensions           1.75 in H x       1.14 in H x      1.95 in H x      2.00 in H x      2.18 in H x
                                       14.00 in D        17.55 in D       24.40 in D       19.20 in D       20.37 in D


                   U Size               1/4 of 1U           9U               6U              10U              10U
                   Weight                9.0lbs            9.6lbs          25.0lbs          24.5lbs           14.0lbs
                                       2 x 10 Gb                          Dual
                  Ethernet              2 x 1 Gb      Dual Port 1GbE       Port         Dual Port 1GbE   Dual Port 1GbE
                                                                           10GbE

                                     Up To $9,500
                    Price            no enclosure      Up $13,000 +      $13,000 +         $12,000 +        $30,000 +
                                       required         enclosure        enclosure         enclosure        Enclosure

               Enclosure Price        Not required.   Up To $10,779    Up To $8,000      Up To $5,000    Up To $30,517
                                           $0


       59.       Without any technical qualifications or a college degree, and having been most

recently employed as a truck driver, Will Mapp – not Servergy’s engineers – created the chart at
SEC v. Mapp, et al.                                                                                                       Page 13
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 14 of 40 PageID #: 407




Mapp’s direction. Mapp – again, not Servergy’s engineers – reviewed and edited the chart and

ultimately approved its inclusion in the PPM and investor presentations.

       60.     The chart was inherently misleading because it attempted to compare the CTS-

1000, a 32-bit rack server, to 64-bit blade servers. Although not disclosed in the PPM or

elsewhere, Servergy’s comparisons were meaningless absent additional, material information

identifying the differences in capabilities between the CTS-1000 and more powerful blade

servers – differences Mapp and Servergy either knew or were reckless in not knowing but did not

disclose.

       61.     Furthermore, Servergy had no way of knowing how much power the IBM, Cisco,

Dell, or Hewlett-Packard blade servers actually consumed because Servergy had not (a)

performed or commissioned testing required to determine power consumption under varied

workload conditions; (b) made use of publicly available tools to estimate power consumption of

such blade servers under varied software configurations and workloads; or (c) considered that the

blade servers in the chart all featured redundant power supplies in case of power failure, while

the CTS-1000 did not. Instead, Will Mapp prepared the chart simply by using the blade servers’

power supply ratings to represent their power consumption even though a server’s power supply

rating is not a useful comparison metric because a server may operate at less than half of its

maximum output capacity.

IV.    WHITE PROMOTED SERVERGY’S STOCK IN EXCHANGE FOR
       UNDISCLOSED COMMISSIONS, SOLICITED UNACCREDITED INVESTORS,
       AND ULTIMATELY JOINED THE COMPANY’S BOARD OF DIRECTORS

       62.     From April 2010 through April 2012, White raised more than $1.4 million from

over 150 individuals who invested with Servergy, many of whom were unaccredited. In return,

Mapp paid White approximately $66,000 in commissions.

SEC v. Mapp, et al.                                                                       Page 14
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 15 of 40 PageID #: 408




       A.      White failed to disclose that he was being paid to recruit new investors.

       63.     After meeting Mapp in November 2009, White agreed to solicit his friends,

family, and insurance firm clients to invest in Servergy through three joint ventures he formed

and managed, Dominion Joint Venture Group 1, 2, and 3, respectively (collectively, “Dominion

JVs”), in exchange for cash commissions Mapp offered him.

       64.     In hundreds of emails soliciting investors, White parroted many of Mapp’s false

and misleading statements, such as claiming that Servergy was on the cusp of taking orders and

that Servergy’s technology had been validated by an independent laboratory. Yet while he made

material statements to prospective investors regarding investments with Servergy, including

distributing Mapp’s promotional materials, White failed to tell investors that he was being paid

to promote Servergy, despite an obligation to do so.

       65.     Although White regularly solicited over 150 investors to purchase Servergy

securities through the Dominion JVs from April 2010 through April 2012 for which Servergy

paid him approximately $66,000 in commissions, White was not registered with the Commission

as a broker.

       B.      Mapp and White knew that Dominion JV investors were unaccredited.

       66.     Certain securities that are exempt from registration with the Commission may

only be offered to, or purchased by, persons who are accredited investors. Generally, an

accredited investor is someone who meets certain thresholds of income or net worth such that he

or she may be identified as a sophisticated person who can bear the economic risk of investing in

unregistered securities.




SEC v. Mapp, et al.                                                                        Page 15
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 16 of 40 PageID #: 409




       67.     Some Dominion JV investors were unaccredited and unsophisticated, as Mapp

and White each knew. As a preliminary matter, White himself was unaccredited yet he invested

his own money in a Dominion JV before he was appointed to Servergy’s Board.

       68.     Further, White required investors to sign separate subscription agreements with

the Dominion JVs, some of which indicated that investors were unaccredited and had never

invested in a private company.

       69.     In addition, White’s email communications with investors indicated that he knew

they were unsophisticated and could not afford a risky investment. For example, he knew some

investors had $2,000 or less to invest, and he was explicitly informed that one nineteen-year old

investor had no investment experience.

       70.     Based on communications with White, Mapp knew at least some Dominion JV

investors were not accredited and that certain investors could only invest $1,000 or $2,000.

       71.     For instance, when White informed Mapp that he had recruited investors who

wanted to invest directly in Servergy – as opposed to investing through the Dominion JVs –

Mapp informed White that Servergy could only accept direct investments from accredited

investors.

       72.     Similarly, an unaccredited investor from whom Servergy refused a direct

investment informed Mapp via email that he intended to invest through a Dominion JV.

       C.      White continued to recruit investors as an independent member of
               Servergy’s board of directors.

       73.     In addition to paying White to recruit new Servergy investors, Mapp enlisted him

to join Servergy’s board of directors. White accepted, and joined Servergy’s board in September

2011. Yet, despite his new title as a purportedly independent director of the company, White


SEC v. Mapp, et al.                                                                        Page 16
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 17 of 40 PageID #: 410




continued to recruit new investors in exchange for undisclosed commissions until April 2012.

White resigned from Servergy’s board in September 2015.

V.     PAXTON SOLICITED INVESTMENTS IN SERVERGY IN EXCHANGE FOR
       UNDISCLOSED COMMISSIONS

       74.     In July 2011, Paxton raised $840,000 for Servergy—32% of all investment funds

raised by Servergy in 2011—by promoting the company and soliciting investors in exchange for

undisclosed transaction-based compensation in the form of 100,000 shares of Servergy common

stock. Paxton characterized this payment at various times as an investment for which he paid

$100,000, as compensation for legal services, and as a gift in order to disguise or conceal its true

nature from the investors that he recruited, from federal regulators, and from the public. In

reality, Paxton’s undisclosed arrangement with Servergy violated the explicit expectations of

some investors and a duty he owed to others he solicited.

       A.      Paxton’s Investment Experience and Investment Groups

       75.     Paxton was an investment adviser representative of Mowery Capital Management

(“MCM”), a Texas-registered investment adviser, from December 2013 to November 2014 and

of MCM’s predecessor firm from July 2003 to December 2004. From November 6, 2008 to June

25, 2012, MCM was registered with the Commission as an investment adviser. Although Paxton

was not an MCM investment adviser representative from January 2005 to November 2013, he at

times solicited clients on MCM’s behalf without disclosing an arrangement whereby MCM paid

him 30% of the asset management fees it collected. The State of Texas charged Paxton, in July

2015, with knowingly and intentionally rendering services as an investment adviser

representative for MCM without being registered to do so. In 2011, the period relevant to Paxton

in this Complaint, Paxton reported income from MCM as legal services.


SEC v. Mapp, et al.                                                                          Page 17
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 18 of 40 PageID #: 411




       76.     In addition to serving as an investment professional, Paxton is, and has been, an

active investor on his own account, participating in deals centered in North Texas and elsewhere.

       77.     Paxton has also participated in investment groups, one of which included

Investors 1, 2, 3, and 4, who shared investment opportunities with each other. Investor 1 has

been involved in that group over the last 25 years along with Investors 2, 3, and 4. Participants

in the group routinely bring investment opportunities to other members for their consideration

and participation. Over these years, through participation in several shared investment

opportunities, Investors 1, 2, 3, and 4 have operated under the established policy and expectation

that members participating in an investment deal do so on what Investor 1 calls an “equal dollar-

for-dollar basis,” in which everyone takes the same risk and receives the same benefit and that no

one member makes money or otherwise benefits off of the investment of another member.

Hence, there was an expectation that if one member of the group was going to benefit from a

deal, he would disclose that benefit. According to Investor 1, in addition to the known policy

against personal benefit, the group also has a known and established pattern of conduct in which

the member who recommends an investment typically monitors the deal going forward and

represents the interests of the members who have invested.

       78.     Investor 1 and Paxton have a personal and professional relationship dating back to

Paxton’s first service in the Texas House of Representatives in 2003. During that time, Paxton

accepted Investor 1’s invitation to reside in Investor 1’s apartment while in Austin on House

business. As their relationship developed, Paxton also served as Investor 1’s attorney, setting up

entities for Investor 1’s family and certain business ventures. Paxton began to participate in

investments with the investment group several years before ultimately soliciting them to invest in

Servergy in 2011. Investor 1 informed Paxton of the investment group’s established purpose,

SEC v. Mapp, et al.                                                                        Page 18
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 19 of 40 PageID #: 412




policies, and practices, and expressly told Paxton that members participating in an investment

deal take the same risk and receive the same benefit; that the member who introduces an

investment opportunity typically acts as point person for that opportunity going forward; and that

no one member makes money or otherwise benefits off of the investment of another member.

       79.     Paxton also learned, and has testified that he knew, that bringing an investment

opportunity to Investor 1 would result in consideration of the investment by Investors 2, 3, and 4.

Knowing these express policies of the group, Paxton participated in several investments with the

group years before introducing Servergy, and brought potential investments to the group himself,

including an investment in a law enforcement video technology company and an energy industry

opportunity investment opportunity, prior to introducing the Servergy investment.           Indeed,

Paxton still invests in some of these companies alongside others in the investment group.

       80.      To Investors 1, 2, 3, and 4’s knowledge, before Servergy, Paxton did not receive

any compensation in the form of commissions or other payments for investments he brought to

the investment group. He did, however, agree to provide legal services in exchange for shares

on at least one investment made through the investment group. This fact was disclosed to other

members of the investment group.

       81.     Paxton performed legal services for members of the investment group and for

entities in which the group invested. In December 2002, he formed a Texas corporation related

to an investment in which members of the group subsequently invested. Paxton is currently

listed as the registered agent for another entity in which members of the investment group

invested, having first assumed the role in June 2010, at which time Investor 1 was also named

the company’s manager using Paxton’s law office address. Paxton’s title company conducted

transactions and collected fees in connection with this company in late 2010 and early 2011. In

SEC v. Mapp, et al.                                                                         Page 19
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 20 of 40 PageID #: 413




addition, Paxton formed a family limited partnership for Investor 1’s family in or around

February 2008, and served as its registered agent until December 2014. He also formed a non-

profit foundation for Investor 1 in or around March 2008, for which he still serves as registered

agent. Furthermore, until January 2015 Paxton served as the registered agent of a limited

partnership entity through which Investor 1 invested in Servergy.

       82.     Under the known policies, understandings, and expectations of the investment

group that he shared with Investors 1, 2, 3, and 4, Paxton knew he was required to disclose any

compensation he was receiving or expected to receive for recommending investment in Servergy

to the group. Indeed, Paxton’s conduct established his awareness of the group’s practices and

expectations, as he informed Mapp that he intended to act as the group’s point person in

connection with Servergy. Additionally, because of the investment group’s express policies,

which Paxton knew, as well as their shared understanding and expectations, the members of the

investment group, including Paxton, formed a formal fiduciary relationship, by agreement or

otherwise, and an informal fiduciary relationship of trust and confidence. As a result, the

members of the investment group owed each other the duty of good faith and fair dealing, at least

as to personal benefit, and were obliged to disclose when one member would personally benefit

from the investment of other members.

       83.     Paxton also participated in investment opportunities with a separate group of

investors, which Paxton and others have called the “S3 Group,” including people who were long-

time legal clients of his. Paxton performed legal services for S3 during the relevant period. For

instance, Paxton formed two entities, S3 Sleep Investments, LLC and Simple Sleep Services,

LLC, in July 2011. He communicated with a member of the S3 Group on July 27, 2011, and

stated “I have a couple of tweaks I want to discuss before we send these documents to investors

SEC v. Mapp, et al.                                                                       Page 20
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 21 of 40 PageID #: 414




and I thought of tonight as I was finishing these. I am almost done with the other documents …

and [will] finish tomorrow morning so that I can make sure I am thinking clearly.” Paxton is an

investor in S3 Sleep Investments, LLC. In addition, he is or was, individually or through his

family living trust, a member or managing member of both entities, and currently serves as the

registered agent of each. Since June 2011, he has served as the registered agent of a third S3

Group entity, S3 Management Group, LLC.

       B.      Paxton Agrees to Solicit Investors for Servergy

       84.     On July 12, 2011, Mapp met Paxton—then a member of the Texas House of

Representatives—for the first time to discuss Servergy. Paxton, along with a key aide, met

Mapp at Paxton’s law office in McKinney, Texas. Emails show that, during that meeting, Mapp

offered to pay Paxton a 10% commission on any investments Paxton helped secure for Servergy.

In a follow-up email Mapp sent to Paxton just before midnight on the same day of their meeting,

he repeated his offer to pay Paxton compensation based on investment transactions Paxton

secured for Servergy, stating:

       As discussed, any investors you bring to the table for Series B $1/share round
       before we close it out here very shortly, I will give you 5% cash and 5% shares in
       consulting fees of any money received that you helped bring to the table for the
       Series B $1/share round. Additionally, you can take all your consulting fees in
       shares if you would prefer, which is what most people have been doing, but again,
       it’s entirely your preference either way. Moreover, I will also give you 2.5% cash
       and 2.5% shares in consulting fees for any monies received that you help bring to
       the table for the Series C $2/share $3M “Production Ready” round or the
       institutional $10-$20M “Production” funding Series D round. Clearly, anyone
       that you decide to invite to this very unique global opportunity we have, I know
       will be good people and I would certainly be excited to talk with and have join us.

       Clearly your timing couldn’t be more perfect to get ownership in Servergy with
       the 2X bump in share price you would be getting here as soon as we open the
       Series B $2/share $3M “Production ready” round to start firming up pre-orders;
       and start teeing up our $10-$20M Series D “production round” with institutional
       investors…

SEC v. Mapp, et al.                                                                          Page 21
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 22 of 40 PageID #: 415




       85.     At 10:35 the following morning, Paxton accepted Mapp’s offer in an email

stating, “Thanks Bill. It was a pleasure to meet you. I will get to work. Ken[.]”

       86.     Also on July 13, 2011, Mapp emailed Paxton to express his excitement to team

with Paxton to “get you additional significant cash/shares as we set up investor

meetings/roadshow[s]” to share the Servergy investment opportunity with potential investors

“that you feel good about inviting to join us on this play.” That afternoon, Paxton responded that

he was “looking forward to introducing this to others.”

       C.      Paxton Begins Soliciting Investors

       87.     Immediately after accepting Mapp’s offer, Paxton did “get to work” “introducing

this to others.” On or around July 13, 2011, he recommended Servergy to Investor 1, knowing

and intending that if Investor 1 invested with Servergy, then Investors 2, 3, and 4 likely would

invest as well. Paxton admits that he brought the Servergy opportunity to his investment group,

though he never personally invested, and has stated “I was trying to find people that could help

me look at it and people that I have worked with in the past that I respected and that could – we

could decide together whether this was something worthy of, you know, our time and money.”

       88.     Within ten days of meeting with Mapp, Paxton solicited multiple additional

investors for Servergy.    Among the people Paxton solicited were other members of his

investment group, members of the S3 Group, friends, law firm clients, and at least two

individuals who were recent acquaintances. Despite having a duty to disclose his compensation

based on his formal and informal fiduciary relationships and an obligation to tell the entire truth

when he undertook to solicit investments in Servergy, Paxton knowingly or recklessly failed to

disclose that he was being compensated to induce investments in Servergy. Moreover, Paxton’s



SEC v. Mapp, et al.                                                                         Page 22
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 23 of 40 PageID #: 416




failure to disclose his compensation to Investors 1, 2, 3, and 4 was misleading in light of the

policies and established practices of the investment group.

       89.     Paxton organized and invited at least seven prospective investors to a July 22,

2011 investment pitch at Servergy’s office including Investor 1 and members of the S3 Group.

Paxton attended that meeting along with the prospective investors he invited in order to lend his

support and credibility to the investment opportunity. Paxton also introduced Mapp to at least

five additional prospective investors by telephone and email on July 22, 2011, including other

members of the S3 Group.

       90.     When recommending investment in Servergy, Paxton told prospective investors

that he had met with Servergy’s management and determined that it was a “great company” and

the investment presented an “interesting opportunity.”          Paxton’s representations were

misleading, especially in light of the circumstances in which they were made—to his friends,

trusted co-investors, law firm clients, and new acquaintances that knew him as an elected

official—because they implied that he had undertaken some level of diligence, or at least had

some factual basis for his opinions, when in fact he had none. Paxton also forwarded, and was

included on, emails to his prospective investor contacts that advanced materially false claims

regarding the nature of Servergy’s technology and business prospects.

       91.     Paxton conducted no research, inquiry, investigation, or due diligence to verify

Servergy’s claims that he chose to share with his personal contacts to induce them to invest,

though he later characterized the claims, in testimony, as “crazy stuff that Bill [Mapp] was

talking about.” Paxton thus recklessly disregarded whether any of Servergy’s claims were true.




SEC v. Mapp, et al.                                                                       Page 23
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 24 of 40 PageID #: 417




       D.      Paxton Violates the Known Practices of His Investment Group for
               His Own Secret Benefit

       92.     The known policies, understandings, and expectations of Paxton’s investment

group—as expressly told to him by Investor 1—created a duty of good faith and fair dealing, at

least as to personal benefit, that required Paxton to disclose his secret compensation agreement

with Servergy and a reasonable expectation of such disclosure.          Nevertheless, contrary to

everything that Paxton had seen, experienced, and been told, he failed to inform Investors 1, 2, 3,

or 4, that he had a secret agreement with Mapp under which he was being compensated by

Servergy for soliciting their investments.      Hence, when Paxton’s contacts invested with

Servergy, they did so with the mistaken understanding that Paxton’s recommendation was not

based on any hidden personal benefit.

       93.     After initially recommending Servergy to Investor 1 on or around July 13, 2011,

and then introducing him to Mapp at the investor presentation Paxton attended along with other

prospects on July 22, 2011, Paxton followed up with Investor 1 to further encourage his

investment in Servergy. When Paxton learned on July 24, 2011, that Investor 1 had chosen to

invest, he told Mapp “That is good news. More will be coming.” Investor 1 believed Paxton

was also investing in Servergy in light of the fact that Paxton brought the investment opportunity

to the group. In fact, Paxton testified that:

       I knew that if Investor 1 were investing that means his whole group probably
       agreed to invest. And that meant that very likely I was investing, too.

       But Paxton never did invest, nor did he tell the investment group that, as he claims, Mapp

did not permit him to invest.

       94.       Paxton knew that, given the policy and established practice of the investment

group—which was told to him by Investor 1— his failure to disclose the commission agreement

SEC v. Mapp, et al.                                                                         Page 24
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 25 of 40 PageID #: 418




led Investor 1 to believe that Paxton was not personally benefitting from his investment.

Paxton’s conduct, practice, and course of business in concealing his compensation arrangement

operated as a fraud and deceit on Investor 1 and the investment group.

       95.     Paxton knew that once Investor 1 invested with Servergy it likely meant the entire

investment group would also invest. But when he learned that Investor 2, also a member of the

group, was not planning to invest in Servergy, Paxton contacted him to pressure him to invest.

       96.     Specifically, due to a travel-related scheduling conflict that prevented him from

meeting an investment deadline, Investor 2 did not initially intend to invest with Servergy. But

Paxton placed an unscheduled and unsolicited late night call to him on July 22, 2011, to change

his mind. During the call, Paxton discussed the details of Investor 2’s investment, convincing

Investor 2 to invest by claiming Servergy presented a great investment opportunity for which the

offering price would double if Investor 2 did not invest by July 30, 2011.

       97.     The investment price was about to increase; however, Paxton did not disclose to

Investor 2 that he would receive a 10% commission on Investor 2’s investment or that his

commission would only be 5% if Investor 2 invested at a later date. Based on his conversation

with Paxton, Investor 2 changed his mind and decided to immediately invest $150,000 with

Servergy and unwittingly ensured a 10% commission for Paxton. Thus, Paxton led Investor 2 to

believe that his recommendation to make an immediate investment in Servergy was for the sole

benefit of Investor 2, while intentionally failing to disclose that Investor 2’s immediate

investment in Servergy served Paxton’s hidden financial motive for making the recommendation

to invest immediately.

       98.     Investor 2 understood and believed, based on explicit conversations with others in

the group over the years, that members of the investment group who shared recommendations

SEC v. Mapp, et al.                                                                       Page 25
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 26 of 40 PageID #: 419




and opportunities with one another would not make money or otherwise benefit from the

investment of another member. Investor 2 would not have invested had he known Paxton was

being paid to promote the company in violation of the investment group’s established policies,

practices, and expectations. Paxton’s conduct, practice, and course of business operated as a

fraud and deceit on Investor 2.

       99.     Investors 3 and 4 were also members of the investment group and also invested in

Servergy in July 2011. Consistent with the established practice of the investment group, which

Paxton knew, Investor 1 passed along the Servergy investment opportunity to Investors 3 and 4.

Investors 3 and 4 knew that the opportunity to invest with Servergy originated with Paxton and,

based on the policy and practice of the investment group, likewise believed that Paxton would

not personally benefit from their investments. According to Investor 3, Paxton’s failure to

disclose the personal benefit he stood to, and did, receive from Servergy misled him into

believing that no such compensation plan was in place. Likewise, Investor 4 did not know

Paxton was being compensated by Servergy for any other investors he brought to the table. If

Investor 4 had known of the secret commission agreement, he would have been skeptical of the

proposed Servergy investment and would have questioned Paxton’s motive for bringing the

investment opportunity into the group. Paxton’s conduct, practice, and course of business

operated as a fraud and deceit on Investors 3 and 4.

       100.    Because he was expressly told about the group’s established policy and practice to

refrain from obtaining personal benefits off the investment of others, Paxton knew that Investors

1, 2, 3, and 4 believed he was not personally benefitting from their investments. Paxton’s

conduct, practice, and course of business in concealing his compensation arrangement operated

as a fraud and deceit on Investors 1, 2, 3, and 4.

SEC v. Mapp, et al.                                                                       Page 26
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 27 of 40 PageID #: 420




       E.      Paxton Solicited Individuals Outside of the Investment Group As Well

       101.    Paxton did not limit his recruitment efforts solely to the trusting members of his

investment group and other friends, but also solicited S3 Group members for whom he was at the

time also performing legal services and with whom he was co-investing. Despite the special

circumstances of that relationship, Paxton also failed to disclose his commission arrangement to

the S3 Group members.

       102.    Paxton also solicited new acquaintances and contacts. In April 2011, a mutual

friend introduced Paxton to a new acquaintance. Paxton and the individual arranged to meet for

lunch on July 18, 2011.      According to Paxton’s personal calendar, he arranged a meeting

between Mapp and this acquaintance at Servergy’s headquarters on July 29, 2011—the day

before a Servergy investment deadline. On September 24, 2011, Mapp emailed Paxton and

identified this new acquaintance as someone Paxton had solicited and whom Mapp wanted help

following up with.

       103.    On or about July 23, 2011, Paxton forwarded one of Mapp’s solicitation emails

directly to a contact that he had previously introduced to Mapp, and personally offered to answer

any of his contact’s questions. In the underlying communication that Paxton forwarded, Mapp

pressured the prospective investor to purchase Servergy common stock within a week and falsely

claimed that Servergy’s technology was “3rd party validated by world class testing lab” and

resulted in “80% savings for power, cooling and space costs.” Paxton recklessly disregarded

whether those claims, which he chose to forward to a potential investor, were true, and lent his

credibility to the solicitation attempt by serving as the conduit for information.

       104.    Paxton’s involvement with Servergy investors did not end after he solicited them

to invest with Servergy. In fact, Paxton informed Mapp that he intended to act as point person

SEC v. Mapp, et al.                                                                       Page 27
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 28 of 40 PageID #: 421




for his investment group. In addition, he personally followed up with investors after his initial

solicitations to ensure they invested.      Moreover, Mapp included Paxton—Mapp’s sole

connection to certain prospective investors—on email communications soliciting the individuals

Paxton recruited, including, but not limited to, providing them the Confidential Information

Memorandum and other materials. In other words, even after Mapp established an independent

relationship with investors, he continued to use Paxton’s presence and involvement to lend

credibility to his communications.

       F.      Paxton Receives His Commission and Continues Soliciting

       105.    By July 28, 2011—just two weeks after first meeting Mapp and less than a week

after Paxton invited some of his contacts to the Servergy investment presentation he also

attended—five of the twelve prospective investors he had already solicited had invested a total of

$840,000 in Servergy—a sum that would ultimately represent 32% of all investment funds raised

by Servergy in 2011.

       106.    Of the $840,000 Paxton raised for Servergy, $640,000 came just from the

investments of Investors 1, 2, 3, and 4—nearly 25% of all investment funds Servergy obtained in

2011. Paxton also raised $100,000 from two members of the S3 Group, though he solicited four

members of that group. Paxton raised the remaining $100,000 from another personal contact he

admits he introduced the Servergy opportunity to and with whom he has participated in other

investments.

       107.    As payment for his successful efforts inducing investment in Servergy, Servergy

paid Paxton transaction-based compensation, in the form of a stock certificate for 100,000 shares

dated August 5, 2011. Thus, Paxton elected to have his entire compensation—per his agreement

with Mapp—paid in shares.

SEC v. Mapp, et al.                                                                        Page 28
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 29 of 40 PageID #: 422




        108.     Following Paxton’s success in helping Servergy raise $840,000 in less than a

month after first agreeing to “get to work” “bringing investors to the table,” Mapp emailed

Paxton on September 12, 2011, and again on October 4, 2011, to renew his offer to continue

paying Paxton to solicit investors. For instance, on October 4, 2011, Mapp offered to

        [H]elp you with some quick cash – for any new money you help bring to the table
        just by making an introduction, I’ll be more than glad to honor our original
        agreement from the last round and give you 10% (5% cash + 5% stock) in
        consulting fees…Please let me know if you would like to do another private in-
        person conference in the Servergy board room, just like we did the last time and
        get everybody at once, which seemed to work really well for everybody.

        109.     Following Mapp’s reiteration of his intent to continue paying Paxton commissions

in exchange for leveraging his influence and credibility to gain access to a new pool of willing

investors, Paxton continued to market Servergy in both oral and written communications to

prospective investors until at least November 8, 2011.

        110.     On September 12, 2011, Paxton updated Mapp that two individuals he was

putting in touch with him “could make investments if they like the deal.”

        111.     Also on September 12, 2011, Mapp informed Paxton that “your $100,000

certificate is now worth $200,000” and provided Paxton, at Paxton’s request, a list of the

potential investors Paxton had already solicited and whether, and in what amounts, they had

invested in Servergy, bolding the names of Paxton’s prospective investors who had not invested:

                              Name 1                            Amount
                       Investor 1                               $150,000 2
                       Investor 2                               $150,000
                       Investor 4                               $100,000
                       Other                                    $0
                       Other                                    $0
                       S3 Member                                $0

1
 Individual’s names appearing in the email are omitted and anonymously characterized herein.
2
 Mapp’s email was incorrect in that Investor 1 and his wife had invested another $150,000, bringing the total raised
by Paxton to $840,000.
SEC v. Mapp, et al.                                                                                         Page 29
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 30 of 40 PageID #: 423




                     S3 Member                        $0
                     S3 Member                        $50,000
                     Relative of S3 Member            $0
                     S3 Member                        $0
                     Other                            $0
                     S3 Member                        $50,000
                     Other                            $100,000
                     Investor 3                       $90,000
                     Other                            $0
                     Total Invested as of             $690,000
                     7/29/11

       112.     When he received the list, Paxton reiterated his excitement about the company

and told Mapp that he had scheduled a lunch meeting for later that day with a possible investor

with whom “[h]opefully, I can generate some interest.”

       113.     Two weeks later, on September 24, 2011, Mapp emailed Paxton and provided

another list of Paxton’s contacts he wanted to follow up with and inquired “what I can do to help

you (again, the same deal holds as last time for your kind help in bringing people to the table of

5% cash + 5% shares; or an option to take all 10% in shares, your choice).” In addition, Mapp

informed Paxton in the email that he would be hosting a live webinar on September 29, 2011,

and encouraged him to invite "Family or Friends Accredited Investors.”

       114.     The very next day, Paxton emailed a potential investor about attending the

“private and limited,” “by invitation only” webinar and informed the individual that “this is the

company that I told you I found very interesting. Let me know if you have any desire to

participate.”   The invitation Paxton forwarded the individual identified the security as the

“SERIES-C $2/SHARE, $3M ‘PRODUCTION READY’ ROUND INVESTMENT” and noted

that the webinar was private, required an executed non-disclosure agreement, and was intended

only for accredited investors.



SEC v. Mapp, et al.                                                                        Page 30
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 31 of 40 PageID #: 424




          115.   On September 27, 2011, Paxton invited another individual, by email, to

participate in the webinar. Because the webinar was invitation only, Paxton was a necessary

conduit to facilitate the inclusion and participation of those he solicited to attend and invest.

          116.   On November 8, 2011, Paxton reported his progress in soliciting another investor

in an email to Mapp advising that he had spoken with a potential investor, one of his law firm

client’s, who was interested in speaking with Mapp about investing in Servergy.

          117.   Although Paxton regularly solicited investors on Servergy’s behalf from at least

July 12, 2011, to November 8, 2011, and was paid a commission in the form of 100,000 shares

of Servergy’s common stock in exchange for raising $840,000, he was not registered with the

Commission as a broker, or associated with a Commission-registered broker-dealer, and during

this time never identified himself in any way to those he recruited as acting as an unregistered

broker.

          118.   After the initial July 12 meeting, Paxton’s aide also began soliciting investments

in Servergy stock, and operated under the same arrangement as Paxton: 10% commissions on

investments raised for Servergy. But unlike Paxton, he expressly informed investors that he

would receive such a commission. Ultimately, Paxton’s aide raised more than $50,000 for

Servergy, during which time Paxton offered to assist him with the solicitation of an investor into

his joint venture.

          G.     Paxton Coordinates with Mapp to Lull Investors

          119.   After investing with Servergy based on Paxton’s solicitation, members of the

investment group became concerned about the quality of their investments and began emailing

Mapp, requesting more current information about Servergy’s operations and status. In the fall



SEC v. Mapp, et al.                                                                            Page 31
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 32 of 40 PageID #: 425




of 2012 and the spring of 2013, unknown to Investors 1, 2, 3, and 4, Paxton and Mapp discussed

ways to quell these concerns.

       120.    In early 2013, Paxton—having informed Mapp that he wanted to serve as point

person for the investment group—organized and attended a meeting with Investor 1 and Mapp,

during which Mapp falsely told Investor 1 that the company was flush with purchase orders.

Paxton lent credibility to Mapp through his organization of and attendance at this meeting,

despite having conducted no inquiry or taken any steps to verify Mapp’s claims, the truth or

falsity of which Paxton recklessly disregarded.

       121.    On February 4, 2013, Mapp emailed Paxton, providing a “Q1’13 Update” on

Servergy’s capital raising efforts, pre-order status, and other topics. At 10:38 pm the same day,

Paxton responded, “hopefully this will keep them calm.” Two minutes later, Paxton separately

forwarded Mapp’s update to Investor 1 and told Investor 1 “Bill [Mapp] and [I] spoke a few

times. I asked for a written summary of progress. The following is what he provided. I will

check back to see how his fundraising is going under the first point. 30 to 45 days is not far

away.” When Investor 1 thanked Paxton and asked him to “keep checking on [Mapp] to make

sure he does what he says he will do,” Paxton replied “That is my plan as much as possible

during session.”

       122.    On February 10, 2013, Paxton informed Mapp that “[Investor 1] seemed satisfied

with my last report. I think if I can check in once a month on progress that will help you and

them. If I don’t check in maybe you can help me remember especially when I am in session.”

       123.    On March 28, 2013, Mapp again contacted Paxton about Investor 1’s concerns,

and told Paxton “I thought I would let you follow up with [Investor 1] since you said that he said

he wanted you to and you said that you wanted to be point for the investment group.” As the

SEC v. Mapp, et al.                                                                        Page 32
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 33 of 40 PageID #: 426




designated point-person for the investment group, and based on the group’s established practices

and expectations known to Paxton, when Paxton spoke to investors about Servergy he was

holding himself out as protecting and advancing their interests and his failure to disclose his

secret commission arrangement misled Investors 1, 2, 3, and 4.

        H.     Paxton Continues to Conceal His Servergy Payments

        124.   Paxton falsely characterized, omitted key information, or refused to disclose

information about his receipt of Servergy stock on at least four separate occasions: (a) to his

investment group; (b) in his tax filings; (c) in his mandated political disclosures; and (d) in

testimony before the Commission. His actions demonstrate that he knew this information would

be of crucial importance to the members of his investment group and others and would

materially affect decisions to invest in Servergy because a reasonable investor would have

weighed Paxton’s financial motivations against his recommendations about Servergy.

        125.   Paxton received 100,000 shares of Servergy stock in exchange for successfully

soliciting investors. Servergy recorded the stock issuance to Paxton as payment for “services”

and issued Paxton a Form-1099 in the amount of $100,000 for the 2011 tax year, characterizing

the payment as non-employment compensation. Paxton claimed the shares as income related to

legal services on his 2011 Form 1040. Paxton also claimed legal services income from MCM in

2011.

        126.   On August 23, 2011, Paxton completed and signed a subscription agreement in

which he claimed he had paid $100,000 in exchange for the shares he received in Servergy,

though his stock certificate is dated August 5, 2011 and he has admitted that he never invested

money in Servergy. On October 28, 2011, Mapp sent Paxton a revised subscription agreement

indicating that Paxton was receiving his shares as a Servergy service provider rather than for

SEC v. Mapp, et al.                                                                      Page 33
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 34 of 40 PageID #: 427




cash consideration. Though he said he would, Paxton never executed the corrected subscription

agreement.

       127.    Upon being told by Servergy management that Paxton had entered into an

agreement with Servergy to solicit investments in the company’s stock, an attorney representing

Investors 1, 2, 3, and 40—all members of Paxton’s investment group—sent a letter to Paxton on

August 12, 2014, requesting information about his arrangement with Servergy:

       We have learned that you or an entity that you control or are affiliated with
       acquired 100,000 shares of Servergy, Inc. stock in exchange for working for
       Servergy in an “advisory” capacity. We would like to obtain a copy of the
       agreement or agreements pursuant to which you acquired your stock in Servergy.

Paxton never responded to this request.

       128.    Three months later, the attorney for Investors 1, 2, 3, and 4 again asked Paxton,

this time via certified mail with returned receipt, to reveal any agreement under which he

acquired his stock in Servergy. Paxton continued to ignore these requests, and though he admits

receiving them, has never responded to the efforts of Investors 1, 2, 3, and 4 to understand the

nature of his relationship with Servergy.

       129.    As an elected official, Paxton was at all times required by Texas Government

Code § 572.001 to disclose beneficial interests, income, and gifts. Paxton was required in 2011,

2012, and years since to disclose, among other things, sources of occupational income; the name,

category, and number of shares of stock held in any business entity; and gifts over $250. On his

Personal Financial Statement for the year 2011, filed with the Texas Ethics Commission on April

23, 2012, Paxton disclosed his ownership of Servergy stock in the “Stock” section, but did not

identify the shares in either the “Sources of Occupational Income” or “Gift” sections.

       130.    During the Commission’s investigation, Paxton claimed he received the shares as

a gift from Mapp. According to Paxton, he met Mapp at a Dairy Queen restaurant in McKinney,
SEC v. Mapp, et al.                                                                      Page 34
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 35 of 40 PageID #: 428




Texas in July or August 2011, intending to invest $100,000 of his own money in Servergy. But,

according to Paxton, Mapp refused his investment and stated, “I can’t take your money. God

doesn’t want me to take your money.” Consequently, Paxton claims, he later accepted the shares

as a gift.

        131.   As evidenced by the contemporaneous tax filings of both Servergy and Paxton,

the shares were not a gift.

        132.   Paxton’s conduct and practices in variously characterizing the true nature of his

compensation—commissions paid by Servergy in exchange for effecting transactions in or

inducing or attempting to induce the purchase or sale of its securities—operated as a fraud or

deceit upon purchasers and potential purchasers of Servergy stock.

        133.   Investors 1, 2, 3, and 4 reasonably expected Paxton to disclose his compensation

when he solicited their investments in Servergy, and his failure to do so violated the established

practices and expectations of the group, which Paxton was expressly aware of, and operated as a

fraud or deceit. Investors 1, 2, 3, and 4 were owed a duty of good faith and fair dealing, at least

as to personal benefit, as a result of their formal fiduciary relationships, informal fiduciary

relationships, and special relationships of trust and confidence. Moreover, Paxton was obliged to

disclose his commission agreement to the S3 group and other potential investors when he

recommended and solicited investments in Servergy, in order to make his solicitations not

misleading under the circumstances. Not only did Paxton withhold the material fact of his secret

commission arrangement, he actively concealed it from his investor group, other investors and

prospective investors, and the public through his filings with the Texas Ethics Commission and

the IRS, his subscription agreement with Servergy, by ignoring the repeated requests of the



SEC v. Mapp, et al.                                                                         Page 35
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 36 of 40 PageID #: 429




investment group to describe his arrangement with Servergy, and in calling the payment a gift

when confronted by the Commission.

                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                            Fraud in the Offer or Sale of Securities in
                          Violation of Section 17(a) of the Securities Act
                          (Against Mapp, Paxton, White and Servergy)

          134.   The SEC incorporates the allegations in paragraphs 1-133 as if fully set forth

herein.

          135.   Mapp, Paxton, White, and Servergy, in the offer or sale of securities, employed

devices, schemes, or artifices to defraud, obtained money or property by means of untrue

statements or omissions, and engaged in transactions, practices, or courses of business which

operate or would operate as a fraud or deceit, in violation of Section 17(a) of the Securities Act.

          136.   Mapp, Paxton, White, and Servergy violated, and unless restrained and enjoined,

they will continue to violate Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].

                                SECOND CLAIM FOR RELIEF
                  Fraud in Connection with the Purchase or Sale of Securities
           Violation of Section 10(b) of the Exchange Act and Rule 10b-5 thereunder
                          (Against Mapp, Paxton, White and Servergy)

          137.   The SEC incorporates the allegations in paragraphs 1-133 as if fully set forth

herein.

          138.   Mapp, Paxton, White, and Servergy employed a device, scheme, or artifice to

defraud, made untrue statements or omissions of material facts, and engaged in an act, practice,

or course of business which operates or would operate as a fraud or deceit upon any person, in

connection with the purchase or sale of any security, in violation of Section 10(b) of the

Exchange Act and Rule 10b-5 thereunder.

SEC v. Mapp, et al.                                                                          Page 36
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 37 of 40 PageID #: 430




          139.   Mapp, Paxton, White, and Servergy violated, and unless restrained and enjoined,

they will continue to violate Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule

10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                 THIRD CLAIM FOR RELIEF
                          Offers and Sales of Unregistered Securities
                      Violation of Section 5(a) and (c) of the Securities Act
                              (Against Mapp, White and Servergy)

          140.   The SEC incorporates the allegations in paragraphs 1-133 as if fully set forth

herein.

          141.   Mapp, White, and Servergy, directly or indirectly, sold securities when no

registration statement was in effect with the SEC as to such securities, and offered to sell

securities when no registration statement had been filed with the SEC as to such securities.

There were no applicable exemptions from registration with regard to Mapp’s, White’s, and

Servergy’s sales and offers to sell securities.

          142.   Mapp, White and Servergy have violated, and unless restrained and enjoined, they

will continue to violate Section 5(a) and (c) of the Securities Act [15 U.S.C. § 77e(a) and (c)].

                              FOURTH CLAIM FOR RELIEF
                  Anti-Touting Violation of Section 17(b) of the Securities Act
                                 (Against White and Paxton)

          143.   The SEC incorporates the allegations in paragraphs 1-133 as if fully set forth

herein.

          144.   White and Paxton, by use or means or instrumentalities of interstate commerce or

of the mails, published, gave publicity to, and circulated communications describing a security

for consideration received or to be received, directly or indirectly, from an issuer, without fully

disclosing the receipt of such consideration and the amount thereof in violation of Section 17(b)

of the Securities Act.
SEC v. Mapp, et al.                                                                          Page 37
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 38 of 40 PageID #: 431




          145.   White and Paxton violated, and unless restrained and enjoined, will continue to

violate Section 17(b) of the Securities Act [15 U.S.C. § 77q(b)].

                                 FIFTH CLAIM FOR RELIEF
                    Offers and Sales of Securities by an Unregistered Broker
                        Violation of Section 15(a)(1) of the Exchange Act
                                  (Against White and Paxton)

          146.   The SEC incorporates the allegations in paragraphs 1-133 as if fully set forth

herein.

          147.   White and Paxton while engaged in the business of effecting transactions in

securities for the account of others, made use of the mails or the means or instrumentalities of

interstate commerce to effect transactions in, or to induce or attempt to induce the purchase or

sale of, a security without being registered in accordance with Section 15(a)(1) of the Exchange

Act.

          148.   White and Paxton violated, and unless restrained and enjoined will in the future

violate, Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)].

                                      RELIEF REQUESTED

          WHEREFORE, the SEC respectfully requests that this Court enter a judgment:

                                                  I.

          Finding that each of the Defendants committed the violations alleged in this Complaint;

                                                 II.

          Permanently enjoining pursuant to Rule 65(d) of the Federal Rules of Civil Procedure the

following Defendants, their agents, servants, employees, attorneys, and all persons in active

concern or participation with them, from directly or indirectly violating the following laws:




SEC v. Mapp, et al.                                                                         Page 38
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 39 of 40 PageID #: 432




       A.      Mapp from further violations of Section 17(a) of the Securities Act [15 U.S.C. §

77q(a)], Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17

C.F.R. § 240.10b-5], and Sections 5(a) and (c) of the Securities Act [15 U.S.C. § 77e(a) and (c)];

       B.      White from further violations of Sections 17(a) and (b) of the Securities Act [15

U.S.C. § 77q(a) and (b)], Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [17 C.F.R. § 240.10b-5], and Section 15(a) of the Exchange Act [15 U.S.C. § 78o(d)];

       C.      Paxton from further violations of Sections 17(a) and (b) of the Securities Act [15

U.S.C. § 77q(a) and (b)], Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [17 C.F.R. § 240.10b-5], and Section 15(a) of the Exchange Act [15 U.S.C. § 78o(d)];

and

       D.      Servergy from further violations of Section 17(a) of the Securities Act [15 U.S.C.

§ 77q(a)], Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17

C.F.R. § 240.10b-5], and Sections 5(a) and (c) of the Securities Act [15 U.S.C. § 77e(a) and (c)];

                                               III.

       Ordering Mapp, White, and Paxton to disgorge any ill-gotten gains or unjust enrichment

realized by each of them resulting from the conduct alleged in this Complaint, plus prejudgment

interest thereon;

                                               IV.

       Ordering each of the Defendants to pay an appropriate civil monetary penalty pursuant to

Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange

Act [15 U.S.C. § 78u(d)(3)];




SEC v. Mapp, et al.                                                                        Page 39
First Amended Complaint
Case 4:16-cv-00246-ALM Document 40 Filed 10/21/16 Page 40 of 40 PageID #: 433




                                                    V.

       Retaining jurisdiction over this action to implement and carry out the terms of all orders

and decrees that may be entered, or to entertain any suitable application or motion for additional

relief within the jurisdiction of this Court; and

                                               VI.

       Granting such other and further relief as this Court deems just and appropriate.



Dated: October 21, 2016                                  Respectfully submitted,

                                                         UNITED STATES SECURITIES AND
                                                         EXCHANGE COMMISSION


                                                         /s/Matthew J. Gulde
                                                         Matthew J. Gulde
                                                         Illinois Bar No. 6272325
                                                         Jessica B. Magee
                                                         Texas Bar No. 24037757
                                                         Timothy L. Evans
                                                         Texas Bar No. 24065211
                                                         Samantha S. Martin
                                                         Texas Bar No. 24065090
                                                         United States Securities and
                                                         Exchange Commission
                                                         Burnett Plaza, Suite 1900
                                                         801 Cherry Street, Unit 18
                                                         Fort Worth, TX 76102
                                                         Telephone: (817) 978-1410
                                                         Facsimile: (817) 978-4927
                                                         guldem@sec.gov

                                                         Attorneys for Plaintiff United States
                                                         Securities and Exchange Commission




SEC v. Mapp, et al.                                                                              Page 40
First Amended Complaint
